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UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF TEXAS

HOUSTON DIVISION
UNITED STATES OF AMERICA §
V. ; CRIMINAL NO. H-17-CR-737
KAAN SERCAN DAMLARKAYA 3

PLEA AGREEMENT

The United States of America, by and through Ryan K. Patrick, United States Attorney for
the Southern District of Texas, and undersigned Assistant United States Attorneys, the defendant,
Kaan Sercan Damlarkaya, and defendant’s counsel, pursuant to Rules 11(c)(1)(A) and 11(c)(1)(B)
of the Federal Rules of Criminal Procedure, state that they have entered into an agreement, the
terms and conditions of which are as follows:

Defendant’s Agreement

1. Defendant agrees to plead guilty to Count Two of the Indictment. Count Two charges
Defendant with Attempting To Provide Material Support to a Designated Foreign Terrorist
Organization, in violation of Title 18, United States Code, Section 2339B. Defendant also
agrees and stipulates that Section 3A1.4 of the United States Sentencing Guidelines (hereafter “the
Guidelines”) applies in this case, and further agrees and stipulates not to object to or otherwise
oppose the offense level and criminal history category that the application of Section 3A1.4 of the
Guidelines imposes on him. Defendant, by entering this plea, agrees that he is waiving any right
to have the facts that the law makes essential to the punishment proven to a jury or judge beyond

a reasonable doubt.
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Punishment Range

2. The statutory maximum penalty for each violation of Title 18, United States Code,
Section 2339B, is imprisonment of up to twenty (20) years and a fine of up to $250,000.00.
Additionally, Defendant may receive a term of supervised release after imprisonment of up to life.
See Title 18, United States Code, sections 3559(a)(3) and 3583(qj). Defendant acknowledges and
understands that if he should violate the conditions of any period of supervised release which may
be imposed as part of his sentence, then Defendant may be imprisoned for up to two (2) years,
without credit for time already served on the term of supervised release prior to such violation.
See Title 18, United Stated Code, sections 3559(a)(3) and 3583(e)(3). Defendant understands that
he cannot have the imposition or execution of the sentence suspended, nor is he eligible for parole.

Mandatory Special Assessment

3. Pursuant to Title 18, United States Code, section 3013(a)(2)(A), immediately after
sentencing, Defendant will pay to the Clerk of the United States District Court a special assessment
in the amount of one hundred dollars ($100.00) per count of conviction. The payment will be by
cashier’s check or money order, payable to the Clerk of the United States District Court, c/o
District Clerk’s Office, P.O. Box 61010, Houston, Texas 77208, Attention: Finance.

Immigration Consequences

4. Defendant recognizes that pleading guilty may have consequences with respect to his
immigration status if he is not a citizen of the United States. Defendant understands that if he is
not a citizen of the United States, by pleading guilty he may be removed from the United States,

denied citizenship, and denied admission to the United States in the future. Defendant’s attorney
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has advised Defendant of the potential immigration consequences resulting from Defendant’s plea

of guilty.

Waiver of Appeal and Collateral Review

5. Defendant is aware that Title 28, United States Code, section 1291, and Title 18, United
States Code, section 3742, afford a defendant the right to appeal the conviction and sentence
imposed. Defendant is also aware that Title 28, United States Code, section 2255, affords the right
to contest or “collaterally attack” a conviction or sentence after the judgment of conviction and
sentence has become final. Defendant knowingly and voluntarily waives the right to appeal or
“collaterally attack” the conviction and sentence, except that Defendant does not waive the right
to raise a claim of ineffective assistance of counsel on direct appeal, if otherwise permitted, or on
collateral review in a motion under Title 28, United States Code, section 2255. Defendant’s
knowing and voluntary waiver of the right to appeal or collaterally attack the conviction and
sentence includes waiving the right to raise on appeal or on collateral review any argument that
(1) the statute(s) to which the defendant is pleading guilty is unconstitutional and (2) the admitted
conduct does not fall within the scope of the statute(s). In the event Defendant files a notice of
appeal following the imposition of the sentence or later collaterally attacks his conviction or
sentence, the United States will assert its rights under this agreement and seek specific performance
of these waivers.

6. In agreeing to these waivers, Defendant is aware that a sentence has not yet been
determined by the Court. Defendant is also aware that any estimate of the possible sentencing
range under the sentencing guidelines that he may have received from his counsel, the United

States or the Probation Office, is a prediction and not a promise, did not induce his guilty plea, and

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is not binding on the United States, the Probation Office or the Court. The United States does not
make any promise or representation concerning what sentence the defendant will receive.
Defendant further understands and agrees that the United States Sentencing Guidelines are
“effectively advisory” to the Court. See United States v. Booker, 543 U.S. 220 (2005).
Accordingly, Defendant understands that, although the Court must consult the Sentencing
Guidelines and must take them into account when sentencing Defendant, the Court is not bound
to follow the Sentencing Guidelines nor sentence Defendant within the calculated guideline range.

7. Defendant understands and agrees that each and all waivers contained in the Agreement
are made in exchange for the concessions made by the United States in this plea agreement.

The United States’ Agreements

8. The United States agrees to each of the following:

(a) If Defendant pleads guilty to Count Two of the Indictment and persists in

that plea through sentencing, and if the Court accepts this Plea Agreement, the

United States will move to dismiss any remaining counts of the Indictment as to

Defendant at the time of sentencing;

(b) If the Court determines that Defendant qualifies for an adjustment under

Section 3E1.1(a) of the United States Sentencing Guidelines, and the offense level

prior to operation of Section 3E1.1(a) is 16 or greater, the United States will move

under Section 3E1.1(b) for an additional one-level reduction in the Defendant’s

offense level because Defendant timely notified authorities of his or her intent to

plead guilty, thereby permitting the United States to avoid preparing for trial and

permitting the United States and the Court to allocate their resources more

efficiently.

Agreement Binding - Southern District of Texas Only
9. The United States Attorney’s Office for the Southern District of Texas agrees that it

will not further criminally prosecute Defendant in the Southern District of Texas for offenses

arising from conduct charged in the Indictment. This plea agreement binds only the United States
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Attorney’s Office for the Southern District of Texas and Defendant. It does not bind any other
United States Attorney’s Office. The United States Attorney’s Office for the Southern District of
Texas will bring this plea agreement to the attention of other prosecuting offices, if requested.
United States’ Non-Waiver of Appeal

10. The United States reserves the right to carry out its responsibilities under guidelines
sentencing. Specifically, the United States reserves the right:

(a) to bring its version of the facts of this case, including its evidence file and

any investigative files, to the attention of the U.S. Probation Office in connection

with that office’s preparation of a presentence investigation report;

(b) to set forth or dispute sentencing factors or facts material to sentencing;

(c) to seek resolution of such factors or facts in conference with Defendant’s
counsel and the U.S. Probation Office;

(d) to file a pleading relating to these issues, in accordance with Section 6A1.2

of the United States Sentencing Guidelines and Title 18, United States Code,

Section 3553(a); and

(e) to appeal the sentence imposed or the manner in which it was determined.

Sentence Determination

11. Defendant is aware that the sentence will be imposed after consideration of the United
States Sentencing Guidelines and Policy Statements, which are only advisory, as well as the
provisions of Title 18, United States Code, Section 3553(a). Defendant nonetheless
acknowledges and agrees that the Court has authority to impose any sentence up to and including
the statutory maximum set for the offense(s) to which Defendant pleads guilty, and that the
sentence to be imposed is within the sole discretion of the sentencing judge after the Court has

consulted the applicable Sentencing Guidelines. Defendant understands and agrees that the

parties’ positions regarding the application of the Sentencing Guidelines do not bind the Court and

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that the sentence imposed is within the discretion of the sentencing judge. If the Court should
impose any sentence up to the maximum established by statute, Defendant cannot, for that reason
alone, withdraw a guilty plea, and will remain bound to fulfill all of the obligations under this plea
agreement.
Rights at Trial

12. Defendant understands that by entering into this agreement, he surrenders certain
rights as provided in this plea agreement. Defendant understands that the rights of a defendant
include the following:

(a) If Defendant persisted in a plea of not guilty to the charges, Defendant

would have the right to a speedy jury trial with the assistance of counsel. The trial

may be conducted by a judge sitting without a jury if Defendant, the United States,

and the court all agree.

(b)  Atatrial, the United States would be required to present witnesses and other

evidence against Defendant. Defendant would have the opportunity to confront

those witnesses and his attorney would be allowed to cross-examine them. In turn,

Defendant could, but would not be required to, present witnesses and other

evidence on his own behalf. If the witnesses for Defendant would not appear

voluntarily, he could require their attendance through the subpoena power of the

court; and

(c) Ata trial, Defendant could rely on a privilege against self-incrimination and

decline to testify, and no inference of guilt could be drawn from such refusal to

testify. However, if Defendant desired to do so, he could testify on his own behalf.

Factual Basis for Guilty Plea

13. Defendant is pleading guilty because he is in fact guilty of the charges contained in
Count Two of the Indictment. If this case were to proceed to trial, the United States could prove
each element of the offense beyond a reasonable doubt. The following facts, among others, would
be offered to establish Defendant’s guilt and are agreed to by the Defendant and the United States:

a. From August 2017 until his arrest in December 2017, the Defendant

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attempted to join and support a designated foreign terrorist organization (“FTO”) known
as the Islamic State in Iraq and al-Sham (“ISIS”). During this time period, the Defendant
also stated that if he was unsuccessful in joining ISIS overseas, he planned to conduct a
terrorist attack in support of ISIS within the United States. In addition to wanting to join
ISIS, during this time period the defendant also provided information to ISIS supporters
about the use of machetes, the homemade construction of an automatic weapon, and, on at

least two occasions, how to build explosives and how to use explosive materials.

b. As part of his plans to join ISIS overseas, in approximately early August
2017 the defendant had numerous conversations online with a person he believed to be a
fellow ISIS supporter but who was actually a confidential source for the Federal Bureau of
Investigation (FBI)(hereafter “Source #1”). During these conversation the defendant told
Source #1 about his intention to travel overseas to fight for ISIS and, alternatively, to
commit an attack in the United States if he could not join ISIS. He made it clear to Source
#1 that it was his desire to join ISIS, and that he wanted to either go to Syria or Afghanistan
to fight for ISIS. The defendant also sought assistance from Source #1 in traveling to join
ISIS and told Source #1 he had previously contacted other individuals to try and get help
to travel overseas to support ISIS. He told Source #1 details about having tried and failed

to get to Syria to join ISIS in 2014 and 2015.

c. The Defendant also told Source #1 that if he was unsuccessful in joining

ISIS overseas, he would conduct an on attack non-muslims in the United States, and that it
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was his “dream” to be a martyr.

d. On or about November 4, 2017, the Defendant had a conversation online
with a person he believed to be a fellow ISIS supporter but who was actually an FBI
employee acting in an undercover capacity (“UCE #1”) about going overseas to join ISIS.
He also told UCE #1 that he believed he could start making plans to travel to Syria via
Turkey with the purpose of joining and supporting ISIS and becoming a martyr.
Defendant is a United States citizen of Turkish origin, and he told UCE #1 that traveling
to Turkey to get to Syria was less risky for him if he got stopped there by law enforcement

because of his Turkish ethnicity and family members who still lived there.

e. On or about November 15, 2017, the Defendant had a conversation online
with a person he believed to be a fellow ISIS supporter but who was actually another FBI
employee acting in an undercover capacity (““UCE #2”). In this conversation the
Defendant also told UCE #2 that he had tried on multiple previous occasions to go to Syria
to join ISIS, consistent with statements he made to Source #1 as detailed above. The
Defendant also told UCE #2 that he was in love with a friend’s sister, but said that because
of his plans to join and support ISIS, the girl’s parents prohibited her from any contact with

him because “of course they won’t let their daughter marry a terrorist.”

f. The Defendant also told UCE #2 he was waiting on a Syria-based ISIS

“smuggler” to return from a training camp, but that if UCE #2 wanted to join ISIS, UCE
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#2 should consider joining ISIS in “khurasan,” which was a reference to ISIS’s presence
in the Afghanistan/Pakistan region. The Defendant also told UCE #2 that he would help

UCE #2 as much as he could in getting to, joining and supporting ISIS.

g. A few days later the Defendant told UCE #2 his detailed plans on how he
was going to join ISIS, and gave UCE #2 advice on how to get to ISIS, including what
cover story to provide authorities if he was stopped on his travels there. After UCE #2
explained that he/she tried to contact an Afghanistan-based ISIS facilitator whom the
Defendant has referred him/her to, UCE #2 asked the Defendant whether he had a “backup”
plan to get to ISIS in Syria. The Defendant stated he had a backup plan, and that it
involved a ruse which involved gaining the trust of a facilitator for a Syria-based terrorist
group not affiliated with ISIS, known as Hayat Tahrir al-Sham (“HTS”). Hayat Tahrir al-
Sham (HTS) is another group fighting in Syria and is not affiliated with ISIS. According
to the Defendant, his back-up plan was to travel to Syria to join HTS, but that once there
he would abandon HTS and join ISIS instead. The Defendant also told UCE #2 that he

did not care if he lived or died as long as he died a martyr.

h. The Defendant also told UCE # 2 that he was in love with the sister of
someone he intended to take to join ISIS with him. On or about October 25, 2017, the
Defendant sent himself an email which contained a letter he intended to send to his love
interest if he made it to Syria successfully. In the letter the Defendant wrote since he was

“not in america any more,” he was “free” to tell her the “truth.” He wrote that he
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“escaped” from the “oppressive place” and further stated, “now I am in sham (you may
know it as syria) And I'm on my way to pledge allegiance to the Islamic State.” The
Defendant further wrote, “my brothers in the Islamic State have been helping me to make
hijrah (to migrate) to sham (you know it as syria) and now I am in the best place on earth

in sham.”

1. In this letter the Defendant then turned his attention to the concepts of
“jihad” and “martyrdom.” He wrote “there is no action better than jihad, and no person
better than the mujahid,” and that in fighting for ISIS he would either achieve victory or
die a martyr. Towards the end of the letter the defendant told his love interest that she
might be thinking that he was a terrorist, and that the Islamic State is a bunch of terrorists,
that in reality they were “the best creation of Allah.” In early December 2017, days before
he was arrested in this case, the defendant purchased a plane ticket from Houston, Texas
to Istanbul, Turkey, as part of his plan to join, support and fight for ISIS. He was

scheduled to travel on January 19, 2018.

j In addition to attempting to travel overseas and join ISIS or conducting an
attack in the United States, the Defendant also provided information via a social media
platform describing ways to manufacture a bomb to ISIS supporters. Two other FBI
sources (“Source #2” and “Source #3”) viewed the Defendant’s description of how to make
a bomb on two separate days in August 2017. On August 10, 2017, Source #2 observed a

conversation between the Defendant and another user (“User #1”) over a social media

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messaging platform. User #1 had posted a screenshot of “mixtures” saying “any one can
made Skg of them or maybe more without afraid that it will explode by it selfie [sic].”
User #1 then posted a picture of two plastic soda bottles duct-taped together with wires
coming out of them, and batteries and what appeared to be a timer attached. The
Defendant complimented User #1 for posting this recipe for making explosives, and User
#1 responded it was a “[ml]ixte [sic] of hydrogene [sic].” After some questions by the
Defendant, User #1 then provided more detail about the formula for the explosives. The
Defendant then posted his own explosives formula, which was and is a viable recipe for

the improvised explosive known as triacetone triperoxide (““TATP”).

k. Part of this explosives formula the Defendant posted involved using ice.
After another user (“User #2”) asked why ice was needed, and the Defendant then
explained to the group that ice kept the solution cool, otherwise “it could blow up in your
face” and advised the group to “take safety seriously while you make this” to be “useful

until you can strike.”

lL. A few days earlier, on or about August 8, 2017, Source #3 observed a
conversation between ISIS supporters, including the Defendant, over a social media
platform. During the discussion, the Defendant provided the group with a “Quick TATP
recipe,” similar to the one he later provided on August 10, 2017, as discussed above. After
another user (“User #3”) claimed to be “[n]ot good with chemistry,” the Defendant stated

he had just given the group the “easiest recipe.” He then further stated that people should

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add shrapnel to the “pressure cooker” bomb. After giving this advice, the Defendant
stated that he needed to learn how to make a detonator before claiming that they “[could]

find dozens of videos on how to make detonator[s] on youtube.”

m. During the same exchange observed by Source #3 on or about August 8,
2017, the Defendant told the group that he could buy a “GIANT machete for $15” and
stated “a lot of us are poor, or are seeing watched, or we don't have experience. So not all
of us can get a gun or make explosives, but we can afford to buy a $15 knife.” He also
claimed online that he slept with a machete under his pillow ready to use if his house were
raided by law enforcement. When agents arrested the Defendant at his home in this case
they executed a search warrant at the residence and found a machete by the Defendant’s

bed.

n. The Defendant stated his machete could cut through the arm of the “kuffar,”
and if sharpened, such a weapon could cut through body armor. “Kuffar” is an Arabic
word used to describe a person who rejects or does not believe in the tenets of Islam. The
Defendant then discussed the virtues of a Samurai sword and told the group that there were
Youtube videos that provided training on how to use such a sword. He further stated how
someone, from “5 or 7 feet away,” could use the Samurai sword to cut a human in half.
The Defendant stated a Samurai sword was a “very cheap easy and affordable option” in
the event someone “can't get a gun or make explosives.” Others users in the group then

continued the discussion of using a bladed weapon to conduct an attack, with some of them

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making suggestions such as finding a “big bridge” to conduct a bladed weapon attack.

oO. On December 17, 2004, the United States Department of State designated
al Qaeda in Iraq (“AQT”) as a Foreign Terrorist Organization under Section 219 of the
Immigration and Nationality Act. On or about May 14, 2014, the United States
Department of State amended the designation of AQI as an FTO to add the ISIS alias as
AQI’s primary alias. To date, and through the time period relevant to the charges
contained in the Indictment, ISIS has remained a designated FTO.

Breach of Plea Agreement

14. If Defendant should fail in any way to fulfill completely all of the obligations under
this plea agreement, the United States will be released from its obligations under the plea
agreement, and Defendant’s plea and sentence will stand. If at any time Defendant retains,
conceals, or disposes of assets in violation of this plea agreement, or if Defendant knowingly
withholds evidence or is otherwise not completely truthful with the United States, then the United
States may move the Court to set aside the guilty plea and reinstate prosecution. Any information
and documents that have been disclosed by Defendant, whether prior to or subsequent to this plea
agreement, and all leads derived therefrom, will be used against Defendant in any prosecution.

Restitution, Forfeiture, and Fines — Generally

15. This plea agreement is being entered into by the United States on the basis of
Defendant’s express representation that he will make a full and complete disclosure of all assets
over which he exercises direct or indirect control, or in which he has any financial interest.

Defendant agrees not to dispose of any assets or take any action that would effect a transfer of

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property in which he has an interest, unless Defendant obtains the prior written permission of the
United States.

16. Defendant agrees to make complete financial disclosure by truthfully executing a
sworn financial statement (Form OBD-500 or similar form) within 14 days of signing this plea
agreement. Defendant agrees to authorize the release of all financial information requested by
the United States, including, but not limited to, executing authorization forms permitting the
United States to obtain tax information, bank account records, credit histories, and social security
information. Defendant agrees to discuss and answer any questions by the United States relating
to Defendant’s complete financial disclosure.

17. Defendant agrees to take all steps necessary to pass clear title to forfeitable assets to
the United States and to assist fully in the collection of restitution and fines, including, but not
limited to, surrendering title, executing a warranty deed, signing a consent decree, stipulating to
facts regarding the transfer of title and the basis for the forfeiture, and signing any other documents
necessary to effectuate such transfer. Defendant also agrees to direct any banks which have
custody of his assets to deliver all funds and records of such assets to the United States.

18. Defendant understands that forfeiture, restitution, and fines are separate components
of sentencing and are separate obligations.

Restitution

19. Defendant understands and agrees that the Court will determine the amount of
restitution to fully compensate any victim(s). Defendant agrees that restitution imposed by the
Court will be due and payable immediately and that Defendant will not attempt to avoid or delay

payment. Subject to the provisions detailed above, Defendant waives the right to challenge, in

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any manner including by direct appeal or in a collateral proceeding, any restitution order imposed
by the Court.
Forfeiture
20. Defendant stipulates and agrees that any property listed in the Indictment’s Notice of
Forfeiture (and in any supplemental Notices), if any, is subject to forfeiture, and Defendant agrees
to the forfeiture of that property.

21. Defendant agrees to forfeit any of.his/her property, or his/her interest in property, up
to the value of any unpaid portion of the money judgment, until the money judgment is fully
satisfied.

22. Defendant agrees to waive any and all interest in any asset which is the subject of a
related administrative or judicial forfeiture proceeding, whether criminal or civil, federal or state.

23. Defendant consents to any order of forfeiture becoming final as to Defendant
immediately following this guilty plea, pursuant to Federal Rule of Criminal Procedure
32.2(b)(4)(A).

24. Subject to the provisions detailed above, Defendant waives the right to challenge the
forfeiture of property in any manner, including by direct appeal or in a collateral proceeding.

Fines

25. Defendant understands that under the Sentencing Guidelines the Court is permitted to
order Defendant to. pay a fine that is sufficient to reimburse the government for the costs of any
imprisonment or term of supervised release, if any. Defendant agrees that any fine imposed by

the Court will be due and payable immediately, and Defendant will not attempt to avoid or delay

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payment. Subject to the provisions detailed above, Defendant waives the right to challenge the
fine in any manner, including by direct appeal or in a collateral proceeding.
Complete Agreement

26. This written plea agreement, consisting of nineteen (19) pages, including the attached
addendum of Defendant and his attorney, constitutes the complete plea agreement between the
United States, Defendant, and Defendant’s counsel. No promises or representations have been
made by the United States except as set forth in writing in this plea agreement. Defendant
acknowledges that no threats have been made against him and that he is pleading guilty freely and
voluntarily because he is guilty.

27. Any modification of this plea agreement must be in writing and signed by all parties.

Filed at LH eastow, , Texas, on J uly 8 , 2019.
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KAAN SERCAN DAMLARKAYA _

 

Defendant
Subscribed and sworn to before me on J uly 8 , 2019.
DAVID J. BRADLEY
UNITED STATES DISTRICT CLERK
By: } Vv

    

Deputy United States District Clerk
APPROVED:

RYAN K. PATRICK
United States Attorney

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ARTHUR R. JONES RY T

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Assistant United States Attorney Attorney for Defendant

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Assistant United States Attorney

 

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UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF TEXAS

HOUSTON DIVISION
UNITED STATES OF AMERICA §
Vv. : CRIMINAL NO. H-17-CR-737
KAAN SERCAN DAMLARKAYA :

PLEA AGREEMENT -- ADDENDUM

I have fully explained to Defendant his rights with respect to the pending Indictment. I
have reviewed the provisions of the United States Sentencing Commission’s Guidelines Manual
and Policy Statements and | have fully and carefully explained to Defendant the provisions of
those Guidelines which may apply in this case. I have also explained to Defendant that the
Sentencing Guidelines are only advisory and the court may sentence Defendant up to the maximum
allowed by statute per count of conviction. Further, I have carefully reviewed every part of this
plea agreement with Defendant. To my knowledge, Defendant’s decision to enter into this

agreement is an informed and voluntary one.

 

  

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Attorney for Defendant

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| have consulted with my attorney and fully understand all my rights with respect to the
Indictment pending against me. My attorney has fully explained, and I understand, all my rights
with respect to the provisions of the United States Sentencing Commission’s Guidelines Manual
which may apply in my case. I have read and carefully reviewed every part of this plea agreement

with my attorney. I understand this agreement and | voluntarily agree to its terms.

 

K AAN SERCAN DAMLARKA YA Dale *
Defendant

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